5/19/2017                        Tide Turns at North Cove Marina with Approval of New Operator | Tribeca Trib Online
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       Brookfield will operate the marina in partnership with Island Global Yachting, whose luxury marinas are in the
       Car ibbean, Mexico, Montauk, Newport, the Bahamas, Colombia and Panama.
       Dozens of Fortenbaugh’s supporters crowded into the boardroom while many more watched the proceedings
       from just outside. Some booed as
       authority Chairman Dennis Mehiel
       gave a lengthy reasoning for the
       board’s decision.
       See excerpts in video below with
       responses by Fortenbaugh.
       “All I can say to all the concerned
       members of the community is to
       understand our responsibilities,”
       Mehiel said before the vote. “You
       guys are a very cri tical stakeholder
       in the decisions we make. But at
       the end of the day, we have to do
       what we think is the right thing to
       do.”
       Mehiel tried to assure the crowd
       that the changes approved by the
       authority will result in “wider, not
       narrower, community use and
                                                Battery Park City Authority chairman Dennis Miehel defends the authority's
       access to the marina.”                   selection of Brookfield Office Properties to operate the North Cove Marina.
                                                Photo: Carl Glassman/Tribeca Trib
       Brookfield has pledged to invest
       $450,000 for marina
       improvements, in cluding more
       lighting and public seating, as well
       as continue to offer a sailing school
       and a summer camp program.
       Noting that the authority “does not
       ignore incumbency,” Mehiel said
       that Fortenbaugh’s application had
       some “deficiencies.” And during a
       second round of interviews, when
       Fortenbaugh met with the
       authority’s staff to discuss his bid,
       “the dialogue with the incumbent
       operator did not improve his
       standing in the relative competitive
       process,” he added, without
                                                Following the vote by the Battery Park City Authority, Fortenbauigh talks to
       elaboration.                             the press and supporters. Photo: Carl Glassman/Tribeca Trib
       “Sorry the authority didn’t view
       our operations as good enough to continue here,” a dejected Fortenbaugh said after the vote. “We were here for
       9/11...and helped the community when ev eryone else was leaving. To say we’re not good enough now is a little
       hard to hear.”
       Last month, Community Board 1 passed a resolution asking the authority to scrap its request for proposals in
       order to include community feedback in the process. Elected officials followed suit, signing a letter to Mehiel
       requesting a new selection process.
       Without mentioning Fortenbaugh by name, Mehiel said at the meeting that “an individual bidder” decided “to
       mount political pressure on the authority to subvert our process and preserve his economic interest in the
       operation of the marina.” The remark was followed by  jeers from Fortenbaugh’s supporters. 
       Fortenbaugh insisted that this was not true.
       “[Mehiel is] saying I caused all this reaction,” he said. “I don’t think I did. I think the authority is the one that
       never reached out to the public about this.” 
       Manhattan Bor ough President Gale Brewer, who had sent a letter to Mehiel in December asking him to require
       the winning bidder to give community­based operators “the maximum possible chance to stay at North Cove
       Marina,” voiced her support for Fortenbaugh.
       “It’s a shame,” Brewer told the Trib after the meeting. “I'm a big fan of what Michael’s done to bring the
       community sailing school here. I’ve known him for years and feel very badly about this. We'll try to reevaluate
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5/19/2017                        Tide Turns at North Cove Marina with Approval of New Operator | Tribeca Trib Online
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       and see if there's anything else we
       can do."
       In a letter, Brew er, along with Rep.
       Jerrold Nadler, State Senator
       Daniel Squadron and Coun ‐
       cilwoman Margaret Chin, asked
       Gov. Andrew Cuomo to urge the
       authority to make local residents
       the majority of the board.
       The only Battery Park City
       resident on the board, Martha
       Gallo, recused herself. Her family
       has a slip in the marina and
       contributes to the New York              Fortenbaugh supporters watch the board proceedings, some holding signs
       Harbor Sailing Foundation. (The          suggesting that political influence figured in its selection of a marina
       vote was originally supposed to          operator. Miehel denied that there had been any discussion about the
                                                marina with political figures in Albany. Photo: Carl Glassman/Tribeca Trib
       take place in December, but
       Gallo’s recusal then left the board
       without a quorum, prompting the
       directors to postpone that action
       until January.) But if Gallo had
       voted, she told the Trib, she would
       have supported the BPCA’s
       decision.
       “Now that I have seen all the
       situation and the criteria I think I
       would have supported the
       authority,” she said. “I’m an
       optimistic person. Brookfield and
       IGY and Michael are going to have
       op portunities to do things together
       on the waterfront in the future.”
       Prior to the meeting, reporting by
                                              The Battery Park City board of directors meets Jan. 22. Teleconferencing
       Matthew Fenton of the Broadsheet       from Florida is vice chair Donald Capoccia. Photo: Carl Glassman/Tribeca
       re vealed the use of Island Global     Trib
       Yachting docks for Mehiel’s own
       yacht, drawing attention to a possible conflict of interest for the chairman and the need for him, like Gallo, to
       recuse himself from the vote.
       Mehiel called that suggestion “preposterous.”
       “There is a high likelihood that our boat was stopped at an IGY marina at some point, dropped an anchor in the
       water and may or may not have fueled,” Mehiel said, adding that his yacht docks in the Caribbean in the winter
       and in Greece during the summer. “Where that happened, I don’t select those marinas, [or] have any knowledge,
       either contemporaneously or later, of where they stopped or what they bought.”
       Gallo said she agreed with Mehiel in his decision not to recuse himself.
       “[My] recusal had more to do with the length and the intensity of the relationship with the club and with
       Michael and his family,” she said. “That is very different from the commercial relationship that Dennis had.”
       Fortenbaugh has already planned his next move––he has taken over operation of Liberty Harbor Marina in
       Jersey City, and will open the season on April 18.
       “We’re going to sail. It’s just a question of how many members will stay with us,” he said.
       But it was an emotional decision for the longtime Battery Park City resident who is well known for his
       community involvement.
       “We had no choice,” he said, fighting back tears. “I’d said I’d never leave Battery Park City.”
        




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            Comments
                'Include all facts about the controversial decision'
                Submitted by admin on Fri, 02/13/2015 ­ 12:12pm.


                 To the Editor:
                 Your article about the Battery Park City Authority awarding of the North Cove Marina operation from
                 long time operator  Michael Fortenbaugh to Brookfield Office Properties had some glaring, and
                 puzzling, omissions.
                 Fortenbaugh over the years has operated the Marina free of scandal and problem free.  In addition to
                 the berthing of yachts, he operated both an adult sailing school, and during the summer months a
                 school to teach children sailing.  His bid for renewal had wide support from our local [officials].
                 As reported in detail in a NY Times article of October 14, 2010, now Governor, and then HUD
                 Secretary Andrew Cuomo was involved in an action involving  Mr. Farkas’s company and alleged
                 landlord kickbacks.  Farkas maintained his company, Insignia Financial Group, did nothing illegal as it
                 was accepted industry practice.  Mr. Cuomo resolved the action and Insignia sold its apartment
                 business for over 900 million dollars. As reported, "And three years later, he began a friendship with
                 Mr. Farkas, astonishing Insignia’s workers who had lived through the battle. That relationship proved
                 hugely beneficial to both men.  Mr. Cuomo received hundreds of thousands of dollars for his
                 campaigns, and, in a three­year stretch between political races, a job working for Mr. Farkas that paid
                 him more than $2.5 million".
                 A similar article in CRAINS NEW YORK  of January 22, 2015, outlines the amounts of money both
                 contributed by Farkas, and the employment of Andrew Cuomo between political elections. As member
                 of his 2014 Gubernatorial election campaign, Mr. Farkas and the "finance team" were signaled out for
                 praise in Cuomo's 2015 inauguration speech.
                 We should also note the seven member Battery Park City Authority, which favored Brookfield's bid,
                 with two seats vacant, has five voting members of which four were appointed by Cuomo.
                 Now it gets interesting: after Brookfield, also a contributor to Gov. Cuomo's campaign,  was appointed
                 operator of NCM, they established an operating relationship with Island Global Yachting ­ founded by
                 Andrew Farkas.
                 In fairness to all there is not a hint of illegality that should stain Cuomo, Farkas, or Brookfield, and
                 none is now suggested.


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            The fact remains, however, that the respected Mr. Fortenbaugh is voted out and Cuomo campaign
            contributor Brookfield  is voted in by a BPCA voting Board almost in totality appointed by Cuomo;
            then Brookfield establishes a co­operating relationship with a former employer, campaign contributor
            and recent campaign associate in Mr. Farkas.
            Again, nothing illegal is suggested or implied, but should not the Govenor exercise better judgment,
            especially since he has the national political scene in his rear view mirror, then to get involved with
            something that suggests cronism?  And should not the Tribeca Tribune exercise true journalistic
            reporting and include all facts relative to a controversial decision.  Your omissions are glaring and beg
            the question why so?
            Tux Brindisi 
             




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                    Operator to Stay




        It was standing room only in the Battery Park City Library on Thursday, Jan. 8, when supporters of Michael
        Fortenbaugh gathered in an effort to convince the Battery Park City Authority and Gov. Andrew Cuomo that
        Fortenbaugh should be retained as the North Cove Marina operator. Photo: Carl Glassman/Tribeca Trib




       By AMANDA WOODS
       Posted Jan. 02, 2015

       With the Battery Park City Authority expected this month to announce the next operator of the North Cove
       Marina, local elected officials, Community Board 1 and supporters of the popular current operator, Michael
       Fortenbaugh, are calling for a restart of the selection process.
       The officials—Rep. Jerrold Nadler, Manhattan Borough President Gale Brewer, State Sen. Daniel Squadron,
       Councilwoman Margaret Chin and Assembly Speaker Sheldon Silver—are jointly urging the authority to enlist
       community input in the process, a request made last month in a Community Board 1 resolution.
       The call for a reworked request for proposals comes amid a mounting show of support for Fortenbaugh, a
       Battery Park City resident whose 10­year contract as marina operator ended on Dec. 31. He has run a sailing
       club and sailing school at the marina since 1994.



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       Fortenbaugh and his supporters fear he will lose
       out in the bidding process to more powerful
       competition. It has been reported that
       Brookfield Properties, which runs the World
       Financial Center, may be favored by the
       authority to win the lease in partnership with
       Island Global Yachting, headed by Andrew
       Farkas, a billionaire real estate investor with
       close ties to Gov. Andrew Cuomo. The
       authority said it postponed the vote on an
       operator last month because it lacked a quorum.
       This month, Ted Wallace, the former dock
       master of the Chelsea Sailing School at Chelsea
       Piers, took over as the authority's newly hired  Michael Fortenbaugh, who was selected by the Battery Park
                                                        City Authority in 2004 to operate the North Cove Marina.
       director of marina operations. It is a post that
       Robin Forst, the authority's spokeswoman, termed "interim."
       On Thursday, Jan. 8, Fortenbaugh supporters, many of them members of his Manhattan Yacht Club, packed into
       the second floor of the Battery Park City Library, and one after another testified to what they see as the success
       of the marina under Fortenbaugh's stewardship. The gathering was called by Jenifer Rajkumar, the Democratic
       District Leader for Battery Park City. (See video below.)
       Fortenbaugh supporters also made their voices heard at Community Board 1's December general meeting.
       Without explicitly endorsing Fortenbaugh, the board took a strong stand, passing a resolution asking the
       authority to scrap its request for proposals for an operator and create a new one that would give the community a
       role in the decision.
       Battery Park City Committee
       chair Anthony Notaro called the
       current re quest for proposals
       “flawed” because only 15
       percent of the criteria includes
       demonstrated “quality and
       strength” of the kind of
       community programming that
       Fort enbaugh has been
       providing. 
       “They so diminish the value of
       that so that anyone with a large
       checkbook could come in and
       answer the [proposal request]        At the December meeting of Community Board 1, speakers line up to express
       and potentially be a                 their support for Michael Fortenbaugh and his continuation as the operator of
                                            the North Cove Marina. At the microphone is Kiera Galloway, who took lessons
       competitor,” he said. “At a bare     at Manhattan Sailing School as a high school freshman. Photo: Amanda
       minimum, we need that to be          Woods/Tribeca Trib
       the number one criterian.”
       “Gaining community input should be a requirement and a priority,” he added.
       Asked by the Trib to respond to CB1’s resolution and its call for more community input, the authority issued a
       statement, in which it said that “the Authority is required to select an operator through a competitive bid
       process...” and that “the bids requested by the authority require operators to continue the ongoing operation of a
       sailing school at a reasonable cost to users as well as enhanced programming and opportunities for greater
       access to the waterfront.”
       But in addressing the community board, Fortenbaugh called the authority “secretive” in its handling of the
       selection process. “Suddenly we find ourselves unsure of where we are,” he said, adding, “We’re just asking for
       an open process.”




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                                              New BPCA Chief
       The Battery Park City Authority has a new
       president. One month after Gayle Horwitz resigned
       from the post, Authority chairman Dennis Mehiel
       announced the appointment of Demetrios A.
       Boutris, 51, a California­based business consultant
       and real estate investor who, according to a
       statement from the Authority, is giving up his
       business interests to take the job.
       Boutris, a lawyer, will also serve as the Authority's
       Chief Operating Officer.
       Mehiel made the announcement at a meeting
       Tuesday of the Authority's board, where Boutris sat
       beside him at the head of the conference table but       Demetrios A. Boutris with Chairman Dennis Mehiel at the
       did not speak.                                           Battery Park City Authority's Oct. 23 board meeting. Photo
                                                                by Carl Glassman / Tribeca Trib
       Asked after the meeting about his familiarity with
       Battery Park City, he said, "I've walked it maybe 20 times."
       Boutris, who lives in Sacremento and Los Angeles, said he has been splitting his time between the West Coast
       and New York, where his wife, Aurelia Mika Chang, a concert pianist, and their two sons live on the Upper
       West Side.  "As of tonight I'm here," he said.
       Boutris has headed California's investment and financing authority and served as a counsel to former California
       Gov. Gray Davis and U.S. Trade Representative Mickey Kantor in the Clinton administration.

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                                                                                        PHOTOS BY CARL GLASSMAN/TRIBECA TRIB

        Battery Park City's $55 million community center, operated by Asphalt Green, was slated to open a year ago.




        By JESSICA TERRELL

        Two groups, frustrated and angry over the Battery Park City Authority's handling of the long­delayed and now­
        completed BPC community center, to be operated by Asphalt Green, have at least one thing they can agree on.
        They want the $55 million facility to open.
        Under what terms is another matter.
        “We want Asphalt Green to run it, and we say
        ‘enough politics, open the doors to our community
        center,’” Jamie Propp, the organizer of an event on
        Sunday in support of Asphalt Green opening
        immediately, told a gathering on the terrace of the
        Battery Park City ball fields
        “This community center has been nine or 10 years in the making, what's a few more weeks or a few more
        months to get it right?” Marshal Coleman, former board member of the Downtown Little League, said at a rally
        on Thursday that is calling on the Authority to change Asphalt Green’s contract or bring in another operator.

http://www.tribecatrib.com/content/two­events­highlight­frustration­over­bpc­center­delay                                                     1/3
